Case 7:19-mj-00819 Document 1 Filed on 04/12/_19 in TXSD Page .1 of 3 '

 

 

 

 

` ` Uni -
Ao 91 (Rev. 11/11) criminal complaint _ S°Let:esrtate.s D.'St|'ict Court
` lLED
» - UNITED STATES DISTRICT COURT APR 112 v _
t for the_ mg '
Southern District of Texas DaVid J. Bradley, C|erk :
United States ofAmerica ) g _
- - >» en n
. » ,_ /
JosE_ lsMAEL PoRTlLLc-G<_JNZALEZ ) Case¢N°' N\ tel ’ 0 »
Citizen Of EL SALVADOR )
YOB: 1974 ) _ '
)
. )
Defena'ant(s) _
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief. '
On or about the date(s) of Apri| 11 , 2019 , in the county of Hida|QO - in the
Southern District of Texas , the defendant(s) violated: w
Code Section ' O]j‘ense Description
Title 18\, U.S.C. 111(a)(1) Whoever forcibly'assaults, resists, opposes, impedes, intimidates, or

interferes with any `person designated in Section 1114 of Title 18 while
engaged in or on account of the performance of official duties; and, Whoever
in the commission of any acts described above, and Where such acts 4

~ involved physical contact With the victim of the-assault

This criminal complaint is based on these facts:-

See Attachment A

d Continued on the attached sheet.

' AW/@. ' M
, . <_/ Complainant’s signature

Juan Carranco, Task Force Ofticer, FBl
Printed name and title

 

Sworn to before me and signed in my_presence.

  

Date; . 04/11/2019 J¢’YL\_-n=_,___,,/

_ ' ` ` Judge ’s signature .
City and State; y |\/chl|enl Texas - J DG , United States l\/|agistrate Judge
- \/

/ Printed name and title

Case, 7:19-m1`-00819 Document 1 Filed on 04/1-2/19 in TXSD Page ~2‘01°.3

Attachment ”A”
Affidavit
- |, Juan Carranco, being first duly sworn, state.as follows:

n 1. |, Juan Carranco, am a Task Force Officer with the Federal Bureau of |nvestigation (FBl)
in l\/chllen, Texas, and have been so employed since l\/larch 2013. l am currently ass`igned`to the
Rio Grande Valley Vio|ent Crime_Task Force in l\/|cAllen, Texas.

2. The information contained in this affidavit is based on my personal knowledge and_on-
information provided to me by other agents of the FBl, law enforcement officers, and other ~
sources of information. This affidavit serves to provide`the probable cause in support of a
complaint against lose lsmael Portillo~ Gonza|ez for violating Title 18, U. S. C., Section 111 (a)(1),
Assaulting a Federal Officer.

3. On April 10, 2019_ at approximately 4:45 a.m., in accordance with his official duties as
a Border Patrol Agent (BPA), BPA J.R. was conducting line watch duties on an All-Terrain _Veh'icle
(ATV) at the Artesitas Refuge near La Grul|a, Texas, When several suspected illegal aliens were
|ocated. At the time they were located, it was still dark and a night vision device was required to
see. B.PAJ R. was conducting his duties with two other Border Patrol Agents, BPA A. A. and BPA
.R. Y., in an area known for alien and drug smuggling.

4. BPA R.Y. located the suspected illegal aliens using the night vision device, and verbally
notified BPAJ. R`. and BPA A. A. of the situation. BPA A. A. shined a flashlight in the area of'the._
_group, verbally identified himself in the Spanish language as Border Patrol, and instructed the
Sub1`ects to stop, but they ran in different directions.

5. After the subjects ran in different directions, BPA A.A. and BPA R. Y. ran south in an
attempt to locate the subjects. BPAJ. R. initially stayed with the ATV's, but then moved to locate
the subjects.

6. BPAJ.R. located a subject, later identified asJose lsmael Portillo-Gonzalez (hereinafter
referred to as ”PORTlLLO-GONZALEZ”), lying on his stomach in the brush. BPA .|.R. verbally '_
identified as Border Patrol in the Spanish language and instructed PORTlLLO -'GONZALEZ'not to
`move, however PORTlLLO- GONZALEZ got up and ran. BPAJ. R. ran after PORTlLLO- GONZALEZ,
but PORTlLLO~ GONZALEZ StOpped and turned toward BPA J.R. PORTlLLO~ GONZALEZ Was
approximately seven _feet away from BPA J.R. when he yelled and charged toward BPA J.R.
PORTlLLO-GONZALEZ struck BPA J.R. multiple times in the `chest with closed fists. PORTlLLO-
GONZALEZ also kicked BPA J.R. multiple times in his lower leg. BPAJ.R. was thrown off balance,
but did not fa|l. He pushed PORTlLLO-GONZALEZ to create space between them, and_BPA J.R.
removed his baton and told PORTlLLO-GONZALEZ to stop in the Spanish language_. PORTlLLO-
_ GONZALEZ again struck BPA J.R. in the leg, and BPA J.R. used the baton to strike PORTlLLO-

Case 7:19¥m1`-008.19 Document 1 Filed on 04/12/19 in TXSD Page 3101c 3,

GONZALEZ in the leg. PORTlLLO-GVONZALEZ did not stop_trying‘to kick BPAJ.R., and BPAJ.R. again
struck PORTlLLO-GONZALEZ with the baton in the leg. PORTlLLO-GONZALEZ attempted to punch
BPA J.R., and BPA J.R. struck PORTlLLO-GONZALEZ in the arm with the baton. As BPA J.R.
attempted to strike PORTlLLO-GONZALEZ in the arm a second time with the baton, PORTlLLO~
GONZALEZ crouched down and was struck in the _head. POR_TlLLO-GONZALEZ fell to the ground,
. and BPA J.R. attempted to handcuff PORTlLLO~GONZALEZ but PORTlLLO-GONZALEZ tucked his
arm under his body. BPA J.R. was able to put a handcuff on PORTlLLO-GONZALEZ'$ left hand, and
BPA R.Y. arrived to the location and assisted in detaining PORTlLLO-GONZALEZ.

7. As a result of the assau|t, BPAJ,R. sustained injuries to his lower leg and had pain in his
' neck.

'8. BPAJ.R. is a Border Patrol Agent, an officer and employee of the United States, namely
a person designated in section 1114 of Title 18.

9. 'Subsequent to the apprehension of PORTlLLO-GONZALEZ, it was determined that
4 PORTlLLO-GONZALEZl was a citizen of El Salvador, and was illegally present in.the United States.

10. Based on the aforementioned factual information, your Affi'ant respectively submits _
that PORTlLLO-GONZALEZ committed violations of Title 18, United States Code, Section 111
(a)(1), Assaulting a Federal Officer.

J arranco

Task Force Officer
`Federal Bureau of investigation

v /{‘ -day of April, 2019.

JUDG

_ U ' Stat s|\/lagistrateludge

 

Sworn' to and subscribed before me this

